                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                  CIVIL NO. 3:22-cv-00637

UNITED STATES OF AMERICA                           )
                                                   )
           v.                                      )               WARRANT FOR
                                                   )               ARREST IN REM
APPROXIMATELY $44,875 IN UNITED                    )
STATES CURRENCY SEIZED FROM                        )
DYMOND THOMAS ON APRIL 6, 2022 AT                  )
THE CHARLOTTE-DOUGLAS                              )
INTERNATIONAL AIRPORT                              )


TO:    THE UNITED STATES MARSHAL, WESTERN DISTRICT OF NORTH CAROLINA,
       AND ANY OTHER AUTHORIZED PERSON

       WHEREAS, the United States of America has filed a verified Complaint for Forfeiture In

Rem against the defendant property as specified in that complaint; and,

       WHEREAS, the defendant property is currently in the possession, custody or control of

the United States; and

       WHEREAS, in these circumstances Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue a Warrant for Arrest In Rem for the defendant property; and

       WHEREAS, Supplemental Rule G(3)(c)(i) provides that the Warrant for Arrest In Rem

must be delivered to a person or organization authorized to execute it who may be a Marshal or

any other United States officer or employee, someone under contract with the United States, or

someone specially appointed by the court for that purpose.

       YOU ARE, THEREFORE, HEREBY COMMANDED to arrest the defendant property as

soon as practicable by serving a copy of this Warrant on the custodian in whose possession,

custody or control the property is presently found, and to use whatever means may be appropriate




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              to protect and maintain it in your custody until further order of this Court.

                      YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

              the same in this Court with your return thereon, identifying the individuals upon whom copies

              were served and the manner employed.

                      IN WITNESS WHEREOF, I, Clerk of the United States District Court for the Western

              District of North Carolina, have caused the foregoing Warrant for Arrest in Rem to be issued

              pursuant to the authority of Supplemental Rule G(3)(b)(i) and the applicable laws of the United

              States and have hereunto affixed the seal of this Court.



Signed: November 23, 2022




                                                   RETURN OF SERVICE

                     I hereby certify that I executed this warrant by serving ____________________________
              by ________________ on the ___ day of                                         ,


                                                             _____________________________________
                                                             [Deputy Marshal or other person serving warrant]




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